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AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT                                                  FILED
                                                                                                            UNITED STATES DISTRICT COURT
                                                                     for the                                     DENVER, COLORADO
                                                                                                                            10:14 am, Apr 22, 2021

                                                            District of                                       JEFFREY P. COLWELL, CLERK


                      United States of America
                                 v.                                    )
                                                                       )        Case No.
                        Jacob Travis Clark
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                             Defendant                                         Colorado No. 21-mj-00079-STV

                                                        ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                            Jacob Travis Clark                                                        ,
who is accused of an offense or violation based on the following document filed with the court:

      Indictment               Superseding Indictment            Information          Superseding Information                  Complaint
      Probation Violation Petition               Supervised Release Violation Petition          Violation Notice               Order of the Court

This offense is briefly described as follows:
 18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority;
 18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
 18 U.S.C. § 1752(a)(4) - Engaging in Physical Violence in a Restricted Building or Grounds;
 40 U.S.C. § 5104(e)(2) - Violent Entry and Disorderly Conduct on Capitol Grounds;
 18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder;
 18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Congress.

Date:           03/05/2021
                                                                                              Issuing officers signature

City and state:                                                                                        , U.S. Magistrate Judge
                                                                                                Printed name and title


                                                                     Return

          This warrant was received on (date)                              , and the person was arrested on (date)
at (city and state)                                              .


Date:
                                                                                             Arresting officers signature



                                                                                                Printed name and title
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AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                      District of

                  United States of America                      )
                             v.                                 )
                                                                )       Case No.
                    Jacob Travis Clark
                                                                )
                     DOB: XXXXXX                                )
                                                                )
                                                                )
                          Defendant(s)


                                             CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 January 6, 2021              in the county of                                 in the
                                                             , the defendant(s) violated:

            Code Section                                                  Offense Description
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
        Lawful Authority,
        18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
        18 U.S.C. § 1752(a)(4) - Engaging in Physical Violence in a Restricted Building or Grounds,
        40 U.S.C. § 5104(e)(2) - Violent Entry and Disorderly Conduct on Capitol Grounds,
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder,
        18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Congress.
         This criminal complaint is based on these facts:




             Continued on the attached sheet.


                                                                                            Complainants signature

                                                                                   Brandon Kimble, Special Agent
                                                                                            Printed name and title




Date:             03/05/2021
                                                                                              Judges signature

City and state:                                                                                           U.S. Magistrate Judge
                                                                                            Printed name and title
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                                    STATEMENT OF FACTS

        1.      Your affiant, Brandon Kimble, is a Special Agent with the Federal Bureau of
Investigation (“FBI”) assigned to Denver Division, Colorado Springs Resident Agency. In my
duties as a special agent, I investigate domestic terrorism, and other national security violations. I
have been employed as an FBI Special Agent since 2016. Currently, I am a tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a Special
Agent with the FBI, I am authorized by law or by a Government agency to engage in or supervise
the prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

        2.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

                        Incursion at the U.S. Capitol on January 6, 2021

       3.      On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice
President Mike Pence present and presiding over the Senate, a large crowd gathered outside the
U.S. Capitol. As noted above, temporary and permanent barricades were in place around the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside.

        5.     At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.

       6.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        7.      During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                               Facts Specific to Jacob Travis Clark

        8.      The U.S. Capitol has closed-circuit television (CCTV) cameras covering the U.S.
Capitol. Footage from January 6, 2021 was reviewed by law enforcement officers. A search of
Colorado’s Department of Motor Vehicles returned JACOB TRAVIS CLARK’s April 2019
driver’s license photograph. By comparing this photograph to the image of the person captured
on CCTV footage, your affiant reasonably believes that the person identified below is identical to
JACOB TRAVIS CLARK. Additionally, a person who knows CLARK was sent 9 images
believed to be CLARK. This person identified 5 of the images as being Jacob T. Clark.

        9.      WITNESS 1 has known CLARK for his entire adolescent and adult life. WITNESS
1 provided the FBI with a recent photograph of CLARK from CLARK’s social media account
(since deleted), which is included below for comparison.
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       10.    WITNESS 1 was shown 9 screenshots of CLARK, all from the U.S. Capitol
footage. Witness 1 was able to identified CLARK in the following 5 screenshots.




      11.   WITNESS 1 did not make a positive identification in the following 4 screenshots:
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       12.    CCTV Video labeled 0303 USCS 03 Senate Gallery SE near S309 2021-01-06
14:32:02 contains the following (all times approximate):

         a. CLARK enters frame at the 7:05 mark as the third person visible after the hallway
            momentarily cleared of government employees.
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        b. CLARK picks up what appears to be a book or binder at the 7:15 minute mark
           and carries it around. CLARK talks at a plain clothes Capitol Police officer at the
           7:30 mark and enters through the closest of 4 doors to the camera. CLARK leaves
           the door at the 7:40 mark as officers attempt to close and lock the door.
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        c. At the 7:50 mark, CLARK drops the book/binder near where he picked it up from.
           At 8:07, CLARK joins a group attempting to gain access through the second door
           against a group of 3 plain clothes officers attempting to close the door. The group
           engages in some shoving and punching with the officers. CLARK can be seen in
           the bottom-center of the screenshot of the video below with a red oval around
           him.
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        d. At 8:21, CLARK squares up with a Capitol Police officer wearing plain clothes as
           three other officers retreat from the group. Other rioters get between CLARK and
           the other rioters squaring up against the Capitol Police officer. The officer then
           retreats off screen. CLARK then exits the camera frame through the second door
           from the camera.
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      13.   CCTV Video labeled 0157 USCH 01 near H159 OAP Corridor - 2021-01-
06_19h18min30s contains the following (all times approximate):

         a. CLARK appears on video at the 11:55. At 12:05 (below) he is seen gesturing at the
            law enforcement officers. One of the officers reported that CLARK used intimidating
            language and indicated “they could take us”.




         b. CLARK then moves to the front line of riots standing in front of the officers at
            12:15. At 12:43, CLARK turns around which shows the same hoodie is being worn
            as is visible outside the Senate doors.
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         c. At around 13:00, CLARK is in the face of the officer closest to him. From 13:15-
            13:20, CLARK makes more gestures indicating the officers need to move.




         d. At 13:50, the officers begin retreating backwards in the hallway and the crowd,
            with CLARK in front, follows.
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         e. At 14:20, the officers retreat around a corner, while still facing the crowd, and
            CLARK and the crowd follows the officers around the corner.




      14.   CCTV Video labeled 0205 USCS 02 West Stairs near S221 - 2021-01-
06_19h40min01s contains the following (all times approximate):

         a. CLARK enters the view of the camera at 09:13 from the right side, as the third non-
            law enforcement person to enter the frame. CLARK exits frame to the right side at
            9:23, and re-enters frame at 9:32.
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          b. At 10:10 to 11:00, CLARK is talking with one of the officers that is blocking the
             hallway.




          c. At 11:20, CLARK exits again from where he entered the camera frame (right side).

       15.     Body worn camera from Metropolitan Police Department Officer Rios captured
audio and video of the same interaction as described in paragraph 14. This footage contains
timestamps in the upper right corner and captured the following:

                 a. CLARK puts his hands on an officer and states “Next time we’re coming
                    with [unintelligible].”
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                b. The officers state that they are just doing their jobs and CLARK screams
                   “So were the Nazis!” CLARK then screams at the officers “Stand down!”.




       16.     CCTV Video 0686 USCH 02 Rotunda Door Interior - 2021-01-06_19h37min05s
contains the following (all times approximate):

         a. At 0:50, CLARK enters the frame of the camera and is using a cell phone.
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           b. At 1:22 to 1:26 something off camera has CLARK's attention and he appears to join
              the crowd in pushing.




           c. At 1:46 he joins a group of people organizing to go up the stairs on the left side of
              the frame, and then exits the camera frame to the left.

       17.     Participants of the storming of the U.S. Capitol on January 6, 2021, utilized mobile
devices to organize, document, and broadcast many of the events at the Capitol. As seen in the
video above, CLARK is utilizing his cell phone in the video.

        18.    WITNESS 1 provided the FBI with telephone number (***) ***-3427 and stated it
was CLARK’s phone number. The witness also stated that CLARK called CLARK’s brother from
inside the Capitol, and that CLARK was verbally bragging about being in the Capitol during the
protest. This telephone number is also associated with two Google email accounts
clarkyardcare@gmail.com and imawesome1260@gmail.com.

         19.   Law enforcement lawfully obtained records from Verizon showing that the above
telephone number is subscribed to Jacob Clark, of Trinidad, Colorado. IP sessions associated with
this telephone number show that the phone was in the Mountain Time Zone on January 4, in the
Central Time Zone on January 4th and 5th, and the Eastern Time Zone on January 5th and 6th, with
a return to Central and then Mountain Time zones beginning on January 7th.

       20.     According to records obtained through a search warrant served on Google, a mobile
device associated with CLARK’s above listed emails was present at the U.S. Capitol on January
6, 2021. Google estimates device location using sources including GPS data and information
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about nearby Wi-Fi access points and Bluetooth beacons. This location data varies in its accuracy,
depending on the source(s) of the data. As a result, Google assigns a “maps display radius” for
each location data point. Thus, where Google estimates that its location data is accurate to within
10 meters, Google assigns a “maps display radius” of 10 meters to the location data point. Finally,
Google reports that its “maps display radius” reflects the actual location of the covered device
approximately 68% of the time. In this case, Google location data shows that a device associated
with CLARK’s above listed emails was within the U.S. Capitol building from approximately
2:15pm to 3:25pm.

                                  Statement of Probable Cause

        21.     Based on the foregoing, your affiant submits that there is probable cause to believe
that JACOB TRAVIS CLARK violated 18 U.S.C. § 1752(a)(1), (2) and (4), which makes it a
crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions;
(4) knowingly engage in any act of physical violence against any person or property in any
restricted building or grounds; or attempts or conspires to do so. For purposes of Section 1752 of
Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
building or grounds where the President or other person protected by the Secret Service, including
the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that JACOB TRAVIS CLARK
violated 40 U.S.C. § 5104(e)(2)(D),(E), and (G), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; (E) obstruct, or impede passage through or within, the
Grounds or any of the Capitol Buildings; and (G) parade, demonstrate, or picket in any of the
Capitol Buildings.

        Finally, your affiant submits there is probable cause to believe that JACOB TRAVIS
CLARK violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit
any act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
engaged in the lawful performance of his official duties incident to and during the commission of
a civil disorder which in any way or degree obstructs, delays, or adversely affects commerce or
the movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.
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        Finally, your affiant submits there is probable cause to believe that JACOB TRAVIS
CLARK violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or impede
any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings
are official proceedings.



                                                    _________________________________
                                                    BRANDON KIMBLE
                                                    Special Agent, FBI


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this _________
                    5th    day of March 2021.


                                                    ___________________________________
                                                    ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
